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                             United States District Court
                                       for the
                             Southern District of Florida

   Sergio Cruz, Plaintiff,                )
                                          )
   v.                                     )
                                            Civil Action No. 20-20788-Civ-Scola
                                          )
   Royal Caribbean Cruises Ltd. and       )
   Mildred Archbold, M.D., Defendant.
                 Order Granting Motion To W ithdraw As Counsel
         Michael T. Flanagan and Lauren Flanagan of Flanagan Personal Injury &
  Wrongful Death Law Firm, P.A. ask the Court for permission to withdraw from
  representing the Plaintiff in this matter because a “fundamental disagreement
  involv[ing] matters that are central to this litigation.” (Mot. to Withdraw, ECF No.
  26.) Withdrawal is permissive when the client insists upon taking an action with
  which the lawyer has a fundamental disagreement or that the lawyer considers
  imprudent. Pursuant to Rule 4-1.16(b) of the Florida Rules of Professional
  Conduct, an attorney may withdraw from representing a client if, after seeking
  and failing to find a mutually acceptable resolution of the disagreement, “the
  lawyer has a fundamental disagreement with the client, and the lawyer may
  withdraw from representation.” Additionally, here, opposing counsel does not
  object to counsel’s withdrawal. Therefore, the Court grants plaintiff counsel’s
  motion (ECF No. 26) and additionally orders as follows:
           1. The Plaintiff must either (a) retain new counsel and have that
              counsel file a Notice of Appearance with the Court by August 13,
              2020, or (b) file a notice with the Court by August 13, 2020, stating
              that he wishes to represent himself (i.e., proceed pro se). If the
              individual Plaintiff fails to do either (a) or (b) by that date, the Court
              will strike your pleadings and dismiss the case.
           2. Any attorney filing an appearance on behalf of the Plaintiff shall be
              required to comply with all discovery requests and the deadlines set
              forth in the Court’s scheduling order(s) in a timely fashion.
           3. Until the Plaintiff retains counsel, all future filings, correspondence,
              and orders must be sent to the Plaintiff’s address. The Plaintiff is
              directed to file a Notice of Current Address with updated contact
              information by July 6, 2020 in compliance with Southern District
              of Florida Local Rule 11.1(g).
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        Done and ordered at Miami, Florida on June 29, 2020.



                                          ___________________________________
                                          Robert N. Scola, Jr.
                                          United States District Judge
